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1/7/21

Dear Judge Berger, CAseH /9-22004

My name is Jamie Pecina
I am a creditor requesting to file a claim in requards to services that
where never received.

Upon receiving a bankrupt notice January of 2019 I called and spoke with
jeffrey Wagoner to get direction as to what I needed to do in this
matter.

Mr. Wagoner assured me there was nothing I could do as where no funds
to recover. I recently contacted bankruptcy clerks office which put me in
contact with Bankruptcy trustee Christopher Redmond
to update my address in the file as I have moved a few times since 2019
and have not received any other notices. I was also informed me I missed
the claim date and assists havesbeen recovered from Mr. Harder. I am
asking you to allow my late claim to be processed as I had incorrect
information from the beginning.

Thank you for your understanding.
Jamie Pecina

9135233098
9511 Haskins Street Lenexa Ks 66215

Kansas City, KS

JUL OY 20%

CLERK
U.S, Bankruptcy Court

   

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UNITED STATES BANKRUPTCY COURT
District of Kansas

Reply to:_ Kansas city

167 US Courthouse
SON Mi ty, 202 1 US Coun
(316) 315-4110 Kansas City KS 66101

(913) 735-2110

204 US Courthouse
444 SE Quincy
Topeka KS 66683
(785) 338-5910

 

Jamie Pecina
9511 Haskins St
Lenexa, KS 66215

Dear Ms. Pecina:

‘Weare in receipt of your correspondence (attached) dated July 7, 2021. Your letter has been
entered into the record of the court as general correspondence and not as a pleading . No further
action based on your letter will be taken by the court. If you wish to pursue this matter further,
you may want to contact an attorney to determine what options may be available to you. This
office can not give you any legal advice.

Local Rules of Practice and Procedures for the US Bankruptcy Court for the District of Kansas
and general court information, including a schedule of filing fees, are available on the Court's
web site at www.ksb.uscourts.gov.

 

Sincerely,

V ud ABs eo

J udy R. Cowger
Deputy-in-Charge

Attachment

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